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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    LINDA MORALES, et al.,                             Case No. 16-cv-02429-EMC
                                   8                   Plaintiffs,
                                                                                           SECOND AMENDED JUDGMENT
                                   9            v.

                                  10    JANNEE DALE, et al.,
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          This action came before the Court for trial, the undersigned judge presiding. On April 10,

                                  14   2018, the jury found in favor of Plaintiffs and against Defendants Jannee Dale and Lisa Allison.

                                  15   Consequently, it is ordered, adjudged and decreed that judgment be entered against Defendants

                                  16   Jannee Dale and Lisa Allison and in favor of (1) Plaintiff Linda Morales in the amount of $59,000,

                                  17   and (2) Plaintiff K.B. in the amount of $29,500 as stated in the Jury Verdict. Pursuant to this

                                  18   Court’s Order Apportioning Damages, see Docket No. 187, Jannee Dale is individually liable for

                                  19   $9,481.30 of Linda Morales’s award and $4,740.65 of K.B.’s. Jannee Dale and Lisa Allison are

                                  20   jointly and severally liable for the remaining amounts, specifically $49,518.70 of Linda Morales’s

                                  21   award and $24,759.35 of K.B.’s.

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                                  23          IT IS SO ORDERED.

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                                  25   Dated: April 27, 2018

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                                  27                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                  28                                                    United States District Judge
